Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 1 of 25 PageID 18




 IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT IN AND FOR
                   HILLSBOROUGH COUNTY, FLORIDA
                           CIVIL DIVISION

 NICHOLAS WUKOSON,

               Plaintiff,
                                                      Case No.

                                                      Division
 JOSEPHINE BAXTER,
 STEVEN POWER,
 and THE CITY OF TAMPA

               Defendant
                                          1

                                                COMPLAINT

       Plaintiff, NICHOLAS WCTKOSON, by and through his undersigned attorneys, hereby

 sues Defendants, JOSEPHINE BAXTER, STEVEN POWER, and THE CITY OF TAMPA, as

follows:

                                                 PARTIES

       1.      This is an action for damages that exceed $15,000.00.

       2.      Plaintiff, NICHOLAS WUKOSON, at all times material hereto, was a resident of

Hillsborough County, Florida, and was a duly licensed Florida Law Enforcement Officer in good

standing with the State of Florida.

       3.      Defendant, JOSEPHINE BAXTER, at all times material hereto, is and was an

employee, agent or servant of the CITY OF TAMPA, as a law enforcement officer with the Tampa

Police Department ("TPD"), and was acting within the course and scope of her duties as a law

enforcement officer with TPD, and under the direction and supervision thereunder.

       4.      Defendant, STEVEN POWER, at all times material hereto, is and was an
                RECEIVEDAND FILED

                   APR 26 2007
            CLERK OF CIRCUIT COURT
            NlI ,WfifiiC U rns l t . l n l rl
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 2 of 25 PageID 19




 employee, agent or servant of the CITY OF TAMPA, as a law enforcement officer with the TPD,

 and was acting within the course and scope of his duties as a law enforcement officer with TPD, and

 under the direction and supervision thereunder.

           5.    Defendant, CITY OF TAMPA ("CITY"), at all times material hereto, is and was a

 Florida municipal corporation located in Hillsborough County, organized under the laws of the State

 of Florida; and acted by and through its employees, agents or servants, including but not limited to

 Defendants BAXTER and POWER.

                                   GENERAL ALLEGATIONS

           6.    On or about Saturday, June 12,2004, Plaintiff was residing with his fiancee, Leah

 Bryant, and Leah's daughter, ofwhom she had primary custody, Jane Doe (J.D.), who was four years

 old at the time, in Tampa.

           7.    At all times material hereto, Plaintiff was approximately 6'4" and weighed

 approximately 240 lbs.

           8.    At all times material hereto, J.D. was approximately 3'5", and weighed approximately

 40 lbs.

           9.    On that day, Ms. Bryant had lefi early in the morning, while J.D. was still sleeping,

to go to work.

           10.   Plaintiff was to get J.D. fed, bathed and packed as he was to drive J.D. to meet her

Grandmother, Sherry Frazier; Grandfather, Michael Frazier; and Aunt, Lauren Bryant, in Bradenton

around 1:00 p.m., to spend the week with them.

           11.   During the morning, Sherry Frazier contacted Plaintiff and advised that they would

like to meet Plaintiff and J.D. earlier and could he meet them. Plaintiff advised Ms. Frazier that he

would try to huny and get J.D. ready to go.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 3 of 25 PageID 20




        12.    After J.D. finished eating breakfast, Plaintiff took J.D. to the bathroom to give her

a bath. J.D. took the cup of water and caused water to get all over Plaintiffs shirt.

        13.    While giving J.D. a bath, Plaintiff was fully clothed, ready to leave, and sat on the

edge of the bathtub with his feet in the water.

        14.    While bathing J.D., Plaintiff gave a cup of water to J.D. to rinse her hair, as J.D. did

not like water on her head and Plaintiff and J.D.'s Mother had been working on this issue with her.

J.D. took the cup of water and threw it all over Plaintiffs shirt.

        15.    Plaintiff then took J.D., as he was still sitting on the edge of the tub, leaned her over

his left knee, and gave her a swat on the bottom.

        16.    J.D. began to cry but within moments, Plaintiff was making her laugh and, after

completing her bath, J.D. went with Plaintiff to the room to pick out an outfit to wear to see her

Grandmother, Grandfather and Aunt.

       17.     Plaintiff then left Tampa around 11:OO-11:30 a.m., and drove J.D. to meet the

Fraziers, during which time they sang songs and talked, then met the Fraziers in Bradenton area

around 1:00 p.m., at which time the Fraziers and J.D. went to McDonald's for lunch, and Plaintiff

drove back to Tampa.

       18.     Later that evening, after driving around in their car looking at houses real estate in

the Venice Beach area for several hours, the Fraziers arrived home in Ft. Myers at around 7:00 p.m.

       19.     Some time later in the evening after arriving home, Lauren noticed bruises and/or

marks on J.D.'s bottom when J.D. was in the bathroom. Sherry and Michael Frazier were both away

fiom the residence, down four flights, walking both of their dogs.

       20.     Lauren told her Mother, Sherry Frazier, about this, and Mrs. Frazier called J.D.'s

Mother, Leah Bryant.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 4 of 25 PageID 21




        21.     When Lauren and Mrs. Frazier asked J.D. what had happened to her, J.D. stated that

 "Nicky spanked me one time."

        22.     At that time, J.D. made no mention of anything sexual in nature.

        23.     At no time from the time that the Fraziers picked up J.D. fiom Plaintiff until the time

 that Lauren purportedly noticed the bruising on J.D.'s buttocks, had J.D. voiced one complaint or

 comment about her buttocks or the fact that the Plaintiff had spanked her.

        24.     Later that evening, around 10:OO p.m., Mrs. Frazier called and spoke on the phone

with Mrs. Bryant, advised of the marks on J.D.'s bottom, and Leah decided to drive to Ft. Myers

 from Tampa. Leah arrived in Ft. Myers at approximately 1-2:00 a.m., on Sunday, June 13,2004.

        25.     When Mrs. Bryant arrived at the Fraziers, she awoke J.D., asked her what had

 happened to her bottom, and J.D. told her the same thing she had told Lauren and Mrs. Frazier, to

wit: that 'Ticky spanked me one time". Again, J.D. did not make any comments regarding anything

of a sexual nature having occurred.

        26.     Allegedly, either in the late evening of June 12, or in the early morning of June 13,

Sherry Frazier took photographs of the bruising on J.D.'s buttocks, which photographs were later

turned over to TPD.

        27.     The aforementioned photographs depicted marks which were not consistent with

sexual abuse.

        28.     The aforementioned photographs depicted marks which were not consistent with

felony child abuse.

        29.     Thereafter, Mrs. Bryant stayed overnight and asked J.D. again, the next day, on

Sunday, June 13,2004, what had happened to her. Again, J.D. simply stated that 'Wicky spanked

me one time," never mentioning anything sexual in nature.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 5 of 25 PageID 22



                                                                                                     9
         30.     Mrs. Bryant stayeduntil Monday, June 14,2004, at which time she returned to Tampa

because she had an ultrasound.

        3 1.     According to Lauren Frazier, J.D. mentioned to her that next morning, Sunday, June

13,2004, that J.D. had told her that "Nicky stuck his pee-pee in my butt/pee-pee", and Mr. and Mrs.

Frazier reported that they heard J.D. make these same statements to them on that same day.

        32.      When Leah Bryant called her Mother, Sherry Frazier, on or about June 16,2004, two

or three days after she had returned to Tampa, and three days after Sherry, Michael and Lauren

Frazier purportedly overheard J.D. state that "Ncky stuck his pee-pee in my butt/pee-pee", Mrs.

Frazier reported to Mrs. Bryant that J.D. was doing fine and that nothing else had been said by

anyone about the incident.

        33.      Mrs. Bryant, who had left J.D. with the Fraziers, knowing that J.D. was going to be

with her Father, Stephen Parker, later that next week, did not ever hear of any allegations of a sexual

nature until that next Friday, June 18,2004, fiom her Mother, Sherry Frazier, either just before or

after Mr. Parker and Mrs. Frazier had taken J.D. to Estero Medical Center for evaluation.

        34.      According to Stephen Parker and his wife, Corin Parker, on the night of Thursday,

June 17,2004, J.D. drew a picture of a "penis" and "buttocks".

        35.      The report of the medical provider who examined J.D. at the Estero Medical Center

stated that "I have examined the anus & external genitalia and don't note any obvious ecchymosis

at this time."

        36.      The medical provider at Estero Medical Center called the Lee County Sheriffs

Department,who came to the center and Stephen Parker and Sherry Frazier were advised to take J.D.

that evening to the Hillsborough County Sheriffs Department as they had jurisdiction, or to call the

Child Abuse Hotline.
 Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 6 of 25 PageID 23




        37.     The Lee County Sheriffs Office closed the case as unfounded.

        38.     On or about June 19,2004,Mr. Parker called The Department of Chldren and Family

Services ("DCF") in Lee County.

        39.     DCF Agent David Meconitus responded to the call and interviewed all parties.

        40.     During the interview process, the Fraziers did not want to be, and were not,

interviewed.

        41.     Agent Meconitus interviewed J.D. who stated again that "Nicky spanked me one

time", and denied sexual misconduct.

        42.    As part ofthe investigation,Agent Meconitus evaluated J.D. and noted that there was

neither bruising nor other marks present on J.D.

        43.    When Agent Meconitus asked J.D. what the purported drawing of the "penis" was,

J.D. stated that it was a "giraffe"; when he asked her what the purported drawing of the "buttocks"

was, J.D. stated that it was a drawing of her Daddy (Stephen Parker).

       44.     Not until Monday, June 21,2004, did Stephen Parker take J.D. for examination to

Tampa, by reporting the incident to the TPD.

       45.     On that same day, TPD took photographs of the back of J.D., which demonstrated

a couple of small bruises on the upper middle part of the right side of J.D's back, which bruises were

not present in the numerous photographs purportedly taken by SherryFrazier on or about June 12-13.

       46.     No bruising could be seen on J.D.Bs buttocks in these latter photographs taken by

TPD.

       47.     When Mr. Parker and J.D. arrived at the TPD, J.D. was interviewed by Sergeant

Jonathan Gamson, who advised that when he asked J.D. what had happened, that J.D. responded that

"Nicky spankedme very hard", and upon Mr. Parker prompting J.D. with "tell him what else...", J.D.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 7 of 25 PageID 24




 further stated that 'Wick put his pee-pee in my butt".

        48.      On or before June 21,2004, Defendant, JOSEPHINE BAXTER ("BAXTER") was

assigned as the lead detective on Plaintiffs criminal investigation.

        49.      BAXTER, andlor another employee, agent or servant of TPD, ordered a Sexual

Assault Medical Examination of J.D., which was performed on June 24,2004, by Tomika Harris,

ARNP, of the Hillsborough County Child Protection Team, who examined J.D. and opined that

"[tlhe physical findings fi-om today's examination neither supports nor refutes allegations of child

sexual abuse."

        50.      On June 24,2004, Detective BAXTER, andlor another employee, agent or servant

of TPD, ordered a "forensic interview" of J.D., which was performed by Jennifer Miller, and whch

was videotaped.

        48.      During Ms. Miller's interview of J.D., BAXTERwas in the adjacent room watching,

listening, and was communicating to Ms. Miller advising Ms. Miller to ask certain questions of J.D.

        49.      During the interview, J.D. drew a picture of a penis and buttocks as she purportedly

had done on or about June 17,2004, according to Corin and Stephen Parker.

        50.      Prior to the interview of J.D., BAXTER was not only aware of the purported fact that

J.D. had drawn a picture of a penis and buttocks, but BAXTER had said drawing in her possession.

       51.       There was nothing in the drawing prepared by J.D. during the videotaped forensic

interview, which contained many unidentifiable scribbled shapes and lines, which was in any way

similar to that drawing provided by Mr. and Mrs. Parker, which was purportedly drawn by J.D.

       52.       Throughout the interview, J.D. 's statements ofwhat purportedlyhappened to her were

inconsistent, unreliable, and offered no corroboration of what she had purportedly stated to the

Fraziers, the Parkers, the medical provider at Estero Medical Center, during the examination by
 Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 8 of 25 PageID 25




 Tomika Harris, or anyone else, notwithstandingleading questions by BAXTER, through Ms. Miller.

        53.     On June 24, 2004, BAXTER and POWER completed an Arrest Affidavit, after

Plaintiff had already been arrested, which they each signed under oath and in which they reference

no evidence to support the arrest of Plaintiff.

        54.     The Arrest Affidavit, executed under oath by BAXTER and POWER, under the

section in which they were to "[sltate facts to establish probable cause that a crime was committed

by the defendant or that the child is dependant", the following:

                   "The defendant was arrested per local pickup placed by Detective J.C.
                   Baxter. The def. was taking a bath with the victim at their residence.
                   While bathing the defplaced (made union) with his penis to the victims
                   vagina and anus. The victim screamed and the def struck the victim.
                   The victim suffered multiple bruises on her buttock area. The victim
                   positively identified the defendant as Nicalos Wukoson."


        55.     The subject Arrest Affidavit contained material omissions and misrepresentations of

facts in that there was no evidence that Plaintiff was "taking a bath with [J.D.]"; there was no

evidence that Plaintiff "placed (made union) with his penis to the victims vagina and anus"; or that

"the victim screamed".

        56.     At the time BAXTER prepared the subject Arrest Affidavit, she knew that the same

would be submitted to prosecuting authorities, and that the prosecuting authorities would rely

thereon in deciding whether to file charges against Plaintiff.

        57.     On June 24,2004, Plaintiff was arrested at his home, handcuffed, and escorted to a

CITY police patrol car with the handcuffs on him, although Plaintiff was not a flight risk.

       58.     After Plaintiff was interrogated by BAXTER, Plaintiff voluntarily submitted, at

Plaintiffs request, to a lie detector test and recorded statement, after whch he was transported to the
    Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 9 of 25 PageID 26




    Hillsborough County Jail, located on Orient Road.

            59.     The CITY arrested Plaintiff for Sexual Battery on a Child (2 counts), pursuant to

    6794.011(8)(c), Florida Statutes; and for Felony Child Abuse (1 count), pursuant to §827.03(1)(a),

    Florida Statutes.

            60.     At the time of Plaintiffs arrest, there was an absence of probable cause that Plaintiff

    had committed any criminal offense.

            61.     Within hours of the arrest of Plaintiff, Bay News 9, and perhaps other news

    organizations, had published that Plaintiff had been charged with 2 Counts of Sexual Battery on a

    Child, and perhaps, 1 Count of Felony Child Abuse.

            62.     Within 24 hours after Plaintiffs arrest, either BAXTER, or some other employee,

    agent or servant of TPD, notified Plaintiffs employer that Plaintiff had been arrested, and had been

    charged with 2 Counts of Sexual Battery on a Child, and 1 Count of Felony Child Abuse, as a direct

    result of which Plaintiff lost his job and, consequently, income therefrom.

            63.     Prior to the arrest ofplaintiff, other thanBAXTER purportedly speaking with Lauren

    Frazier over the phone, neither BAXTER, POWER, nor any other employee of the CITY ever

    prepared notes from any conversation with Lauren Frazier; never prepared a written report of

    interview with Lauren Frazier, nor did anyone ever conduct any sort of formal or, otherwise, in-

    person interview with Lauren Frazier, the person to whom J.D. first purportedly made the statement

.   to the effect that Plaintiff had sexually battered J.D.

           64.     Prior to the arrest of Plaintiff, neither BAXTER, POWER, nor any other employee

    of the CITY had made themselves aware of the findings of the June 18,2004Estero Medical Center

    Medical Report, in which the medical provider concluded that "I have examined the anus & external

    genitalia and don't note any obvious ecchymosis at this time," notwithstanding that BAXTER was
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 10 of 25 PageID 27




 aware that the evaluation had been performed and that the report existed.

         65.    Prior to the arrest of Plaintiff, BAXTER, POWER, and other employees or agents of

 the CITY were aware of the Child Protection Team's report concluding that '[tlhe physical findings

 from today's examination neither supports nor refutes allegations of child sexual abuse."

        66.     Prior to the arrest of Plaintiff, BAXTER, POWER and/or other employee, agent or

 servant of the CITY was aware of the DCF investigation and report dated June 19,2004, generated

 as a result of Agent Meconitus' interview and evaluation of J.D., as mentioned hereinabove.

        67.     On June 2 1,2004, Mr. Parker provided to BAXTER, POWER and/or other employee,

 agent or servant of the CITY, information with which BAXTER could contact Agent Meconitus.

        68.     Prior to the arrest of Plaintiff, although BAXTER, POWER and/or other employee,

 agent or servant of the CITY was aware of the fact of the DCF investigation, interview and

 evaluation of J.D., any and all of them failed to contact Agent Meconitus to discuss his findings, or

to review his report.

        69.     Prior to the arrest of Plaintiff, BAXTER, POWER and/or other employee, agent or

servant of the CITY failed to notify the local DCF agency, which would have jurisdiction over

investigation of the alleged incident, in order that they may conduct an investigation.

        70.     Prior to the arrest of Plaintiff, BAXTER, POWER and/or other employee, agent or

servant of the CITY was aware of the fact that the aforementioned bruises on J.D.'s mid to upper

back were not present on the photographs submitted by Sherry andlor Steven Parker.

        71.     Prior to the arrest of Plaintiff, BAXTER, POWER and/or other employee, agent or

servant of the CITY failed to inquire as to the source of the bruising on J.D. seen on the photographs

taken by TPD, on or about June 2 1,2004, nine days after the alleged incident, which was the last day

on which Plaintiff had seen J.D.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 11 of 25 PageID 28




            72.   After reviewing the sexual battery counts for which Plaintiff was arrested, the Office

 of the State Attorney chose not to file charges against Plaintiff because of the fact that the alleged

 victim, J.D., did not qualify as a witness, and there was no evidence corroborating the alleged sexual

 battery.

            73.   On September 3,2004, Plaintiff was charged by the Office of the State Attorney, by

 Information,in the 13th Judicial Circuit Court, in and for Hillsborough County, Florida, with Felony

 Child Abuse, under §827.03(1), Florida Statutes.

         74.      The Office of the State Attorney relied, in part, upon the Arrest Affidavit executed

 by BAXTER and POWER, in its decision to file charges against Plaintiff.

         75.      The Office of the State Attorney relied, in part, upon the evidence, and lack of

 evidence, submitted by BAXTER, POWER and other employees, agents or servants of the TPD, in

 its decision to file charges against Plaintiff.

         76.      On or about November 15, 2004, the Office of the State Attorney filed a Nolle

Prosequi as to the Felony Child Abuse because the victim did not qualify as a witness, and there was

no independent evidence of Felony Child Abuse.

        77.       After the arrest of Plaintiff, the Office of the State Attorney never turned over to the

Plaintiff, or his counsel, during the discoveryprocess or otherwise, the videotaped interview of J.D.;

results from a lie detector test to which Plaintiff voluntarily subjected himself prior to his arrest; the

DCF report of Agent Meconitus; the medical report from Estero Medical Center; the medical

evaluatiodreport performed by Tomika Harris at TPD's request; written statements/interviews of

Sherry Frazier, Michael Frazier, Lauren Frazier, the Plaintiff herein; the Arrest Affidavit of

BAXTER; the drawing of the penis and buttocks purportedly prepared by J.D. on June 17, while

with Corin and Steven Parker; or the drawing of the penis and buttocks drawn by J.D. during the
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 12 of 25 PageID 29




 forensic interview by Jennifer Miller.

        78.     All of the aforementioned acts and omissions of BAXTER, POWER and all other

 employees, agents or servants of the CITY, occurred under the color of state law.

        79.     On or about April 13,2006, the Criminal Justice Standards and Training Commission

 ("Petitioner") filed an Administrative Complaint against Plaintiff, alleging that Plaintiff committed

 a sexual battery on J.D.; committed felony child or lesser included offense of child abuse; and that

 he, by that and such other conduct had failed to maintain the qualifications of a Law Enforcement

 Officer, to wit: failing to have good moral character.

        80.     On November 8, 2006, the Honorable T. Kent Wetherell, 11, Administrative Law

 Judge, conducted a full day of an evidentiary hearing, at which the court considered testimony not

 only of BAXTER and other investigating officers with the TPD, but also of Nurse Tomika Harris

(with Child Protection Team, and performed medical examination of J.D.); Jennifer Miller

(performed interview of J.D. at instance of Tampa Police Department); the Fraziers (through

deposition testimony), Leah Bryant, Stephen and Corin Parker, and Plaintiff.

        8 1.    The Court witnessed the aforementioned videotaped interview of J.D., performed by

Jennifer Miller, and considered the Petitioner's motion to admit same into evidence, and held that

the tape lacked the sufficientreliability to be admitted into evidence pursuant to §90.803(23), Florida

Statutes.

        82.     After considering all of the evidence, Judge Wetherell issued a 27 page

Recommended Order, on January 22,2007, opining that the Petitioner failed to prove that Plaintiff

sexuallybattered J.D.; failed to prove that Plaintiff committed felony child abuse on J.D.; and failed

to prove that Plaintiff failed to maintain good moral character as required by Florida Administrative

Code Rule 11B-27.0011(4)(b).
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 13 of 25 PageID 30




         83.     OnFebruary5,2007, the Criminal Justice Standards and Training Commission issued

 a Final Order, accepting Judge Wetherell's Recommended Order, and ordered that the

 Administrative Complaint against Plaintiff be and hereby is Dismissed.



                                             - COUNT I -
               False Arrestmalse Imprisonment (Sexual Battery on a Minor Child)
                                    vs. CITY OF TAMPA
                                         (F.S. 5768.28)

         84.     Plaintiff, NICHOLAS WUKOSON, hereby sues the CITY OF TAMPA, for violation

 of 4768.28, Florida Statutes, and, as grounds therefore, states as follows:

         85.     Plaintiff realleges and incorporatesparagraphs 1-69,inclusive, hereinabove, as ifhlly

 set forth herein.

         86.     Defendants, BAXTER, POWER, and other known and unknown employees, agents

 or servants of the CITY, proximately caused the arrest, restraint and confinement of Plaintiff.

         87.     Defendants, BAXTER, POWER, and other known and unknown employees, agents

 or servants of the CITY, did not have probable cause to believe that Plaintiff had committed the

criminal offense of Sexual Battery on a Minor Child, under 4794.01 1(8)(c), Florida Statutes, in that

the facts and circumstances known to BAXTER, POWER, and other known and unknown

employees, agents or servants of the CITY, were not sufficient to cause a reasonably cautious person

to believe that Plaintiff had committed said alleged criminal offense.

        88.     Defendants, BAXTER, POWER, and other employees, agents or servants of the

CITY, intentionally caused Plaintiff to be arrested, restrained and confined for the alleged criminal

offense of Sexual Battery on a Minor Child.

        89.     Defendants, BAXTER, POWER, and other agents, employees or servants ofthe
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 14 of 25 PageID 31




  CITY, either purposely caused Plaintiffs arrest, restraint and confinement or otherwise acted with

  knowledge that Plaintiffs arrest, restraint and imprisonment would be substantially certain to occur.

          90.      The arrest, restraint and confinement ofplaintiff was against Plaintiffs will, and was

  unlawful, unreasonable, and without color of lawful authority.

         91.       The actions and omissions of BAXTER, POWER, and other known and unknown

  agents, employees or servants of the CITY, which proximately caused the arrest, restraint and

  confinement of Plaintiff, were committed and occurred during the course and scope of their

  respective agency or employment with the CITY OF TAMPA.

         92.       As a direct and proximate result of the actions and omissions of BAXTER, and other

  known and unknown agents, employee or servants of Defendant, CITY, Plaintiff has been brought

  into public scandal, suffered great humiliation, mental suffering and damaged reputation.

         93.       As a further direct and proximate result of the actions and omissions of BAXTER,

 POWER, and other known and unknown agents, employees or servants of the CITY, Plaintiff

  suffered a loss of liberty and fi-eedom, mental anguish, loss of earnings, loss of capacity for the

 enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State and

 Federal levels.

         94.       All of the aforementioned Plaintiffs losses are either continuing of permanent in

 nature, and he will continue to suffer said losses in the future, all in violation of Plaintiffs rights.

         WHEREFORE, Plaintiff, NICHOLAS WLTKOSON, respectfully requests the entry of

 Judgment in his favor against Defendant, CITY OF TAMPA, for compensatory damages, costs

 incurred in this ma,tter, such other relief as this Court deems just and appropriate, and demands trial

 by jury of all issues so triable.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 15 of 25 PageID 32




                                               - COUNT I1 -
                False ArrestIFalse Imprisonment (Sexual Battery on a Minor Child)
                              vs. JOSEPHINE BAXTER, individually
                                         (42 U.S.C. $1983)


         Plaintiff, NICHOLAS WUKOSON, hereby sues the Defendant, JOSEPHINE BAXTER,

  individually, for violation of his Constitutional rights, and, as grounds therefore, states as follows:

         95.        Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if

  hlly set forth herein.

         96.        The actions ofDefendant, BAXTER, individually, in causing the arrest, restraint and

  confinement of Plaintiff, for Sexual Batteryon a Child, in the absence ofprobable cause, were taken

  in the absence of lawhl authority, and constitute the false arrest/false imprisonment of Plaintiff.

         97.        The conduct of Defendant, BAXTER, individually,towards Plaintiffwas objectively

  unreasonable and violated Plaintiffs clearly established rights under the Fourth and Fourteenth

  Amendments of the United States Constitution, and 42 U.S.C. 8 1983, to be free from seizure and

  arrest in the absence of probable cause; and deprivation of life, liberty or property without due

  process of law.

         98.     Plaintiff is entitled to a reasonable attorney's fee pursuant to 42 U.S.C. 1988.

         99.     As a direct and proximate result of the acts of the described herein, in violation of 42

  U.S.C. 51983, Plaintiff has been brought into public scandal, suffered great humiliation, mental

  suffering and damaged reputation.

         100.    As a further direct and proximate result of the actions and olnissions of BAXTER,

 Plaintiff suffered a loss of liberty and freedom, mental anguish, loss of earnings, loss of capacity for

 the enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 16 of 25 PageID 33




 and Federal levels.

          101.     All of the aforementioned Plaintiffs losses are either continuing of permanent in

 nature, and he will continue to suffer said losses in the future, all in violation of Plaintiffs rights.

         WHEREFORE, Plaintiff, NICHOLAS WUKOSON, respectfullyrequests that h s Honorable

 Court enter judgment against, JOSEPHINE BAXTER, for compensatory damages, punitive

 damages, the costs incurred in bringing the instant action, areasonable attorney's fees, and any other

 relief this Court deems equitable and just.



                                             - COUNT I11 -
                 False ArrestIFalse Imprisonment (Sexual Battery on a Minor Child)
                                 vs. STEVEN POWER, individually
                                          (42 U.S.C. $1983)


         Plaintiff, NICHOLAS WLKOSON, hereby sues the Defendant, STEVEN POWER,

 individually, for violation of his Constitutional rights, and, as grounds therefore, states as follows:

         102.     Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if

 fully set forth herein.

         103.     The actions ofDefendant, POWER, individually, in causing the arrest, restraint and

 confinement of Plaintiff, for Sexual Battery on a Child, in the absence of probable cause, were taken

 in the absence of lawful authority, and constitute the false arrestlfalse imprisonment of Plaintiff.

         104.     The conduct of Defendant, POWER, individually, towards Plaintiffwas objectively

unreasonable and violated Plaintiffs clearly established rights under the Fourth and Fourteenth

Amendments of the United States Constitution, and 42 U.S.C. 5 1983, to be free from seizure and

arrest in the absence of probable cause; and deprivation of life, liberty or property without due

process of law.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 17 of 25 PageID 34




           105.    Plaintiff is entitled to a reasonable attorney's fee pursuant to 42 U.S.C. 9 1988.

           106.   As a direct and proximate result of the acts of the described herein, in violation of 42

  U.S .C. 8 1983, Plaintiff has been brought into public scandal, suffered great humiliation, mental

  suffering and damaged reputation.

           107.   As a further direct and proximate result of the actions and omissions of POWER,

  Plaintiff suffered a loss of liberty and freedom, mental anguish, loss of earnings, loss of capacity for

  the enjoyment of life, and diminished opportunityto pursue a career in law enforcement at the State

  and Federal levels.

           108.   All of the aforementioned Plaintiffs losses are either continuing of permanent in

  nature, and he will continue to suffer said losses in the future, all in violation of Plaintips rights.

          WHEREFORE, Plaintiff,NICHOLAS WUKOSON, respectfullyrequeststhat this Honorable

  Court enter judgment against Defendant, STEVEN POWER, for compensatory damages, punitive

  damages, the costs incurred in bringing the instant action, a reasonable attorney's fees, and any other

  relief this Court deems equitable and just.

                                              - COUNT IV -
                            False ArrestJFalse Imprisonment (Child Abuse)
                                         vs. CITY OF TAMPA
                                              (F.S. 8768.28)


          Plaintiff, NICHOLAS WUKOSON, hereby sues the Defendant, the CITY OF TAMPA, for

  violation of 8768.28, Florida Statutes, and, as grounds therefore, states as follows:

          109.    Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if

  fully set forth herein.

          110.    Defendants, BAXTER, POWER, and other known and unknown employees, agents

  or servants of the CITY, proximately caused the arrest, restraint and confinement of Plaintiff.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 18 of 25 PageID 35




         111.   Defendants, BAXTER, POWER, and other known and unknown employees, agents

 or servants of the CITY, did not have probable cause to believe that Plaintiff had committed the

 criminal offense of Felony Chld Abuse, under §827.03(1)(a),Florida Statutes, in that the facts and

 circumstances known to BAXTER, POWER, and other known and unknown employees, agents or

 servants of the CITY, were not sufficient to cause a reasonably cautious person to believe that

 Plaintiff had committed said alleged criminal offense.

         112.   Defendants, BAXTER, POWER, and other agents, employees or servants of the

 CITY, intentionally caused Plaintiff to be arrested, restrained and confined for the alleged criminal

 offense of Felony Child Abuse.

         113.   Defendants, BAXTER, POWER, and other agents, employees or servants of the

 CITY, either purposely caused Plaintiffs arrest, restraint or confinement or otherwise acted with

 knowledge that Plaintiffs arrest, restraint or confinement would be substantially certain to occur.

         114.   The arrest, restraint and confinement of Plaintiff was against Plaintiffs will, and was

 unlawful, unreasonable, and without color of lawful authority.

        115.    The actions and omissions of BAXTER, POWER, and other known and unknown

 agents, employees or servants of the CITY, which proximately caused the arrest, restraint and

 confinement of Plaintiff, were committed and occurred during the course and scope of their

 respective agency or employment with the CITY OF TAMPA. As a direct and proximate result of

 the actions and omissions of BAXTER, and other known and unknown agents, employee or servants

 of Defendant, CITY OF TAMPA, Plaintiff has been brought into public scandal, suffered great

 humiliation, mental suffering and damaged reputation.

        116.    As a further direct and proximate result of the actions and omissions of BAXTER,

POWER, and other known and unknown agents, employees or servants of the CITY, Plaintiff
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 19 of 25 PageID 36




 suffered a loss of liberty and freedom, mental anguish, loss of earnings, loss of capacity for the

 enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State and

 Federal levels.

         117.      All of the aforementioned Plaintiffs losses are either continuing of permanent in

 nature, and he will continue to suffer said losses in the future, all in violation of Plaintiffs rights.

         WHEREFORE, Plaintiff, NICHOLAS WUKOSON, respectfully requests the entry of

 Judgment in his favor against Defendant, CITY OF TAMPA, for compensatory damages, costs

 incurred in this matter, such other relief as this Court deems just and appropriate, and demands trial

 by jury of all issues so triable.



                                             - COUNT V -
                           False ArrestIFalse Imprisonment (Child Abuse)
                               vs. JOSEPHINE BAXTER, individually
                                          (42 U.S.C. $1983)


         Plaintiff, NICHOLAS WUKOSON, hereby sues the Defendant, JOSEPHINE BAXTER,

 individually, for violation of his Constitutional rights, and, as grounds therefore, states as follows:

         118.    Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if

 fully set forth herein.

         119.    The actions of Defendant, BAXTER, individually, in causing the arrest, restraint and

 confmement of Plaintiff, for Child Abuse, in the absence of probable cause, were taken in the

 absence of lawful authority, and constitute the false arrest/false imprisonment of Plaintiff.

         120.    The conduct of Defendant, BAXTER, individually, towards Plaintiffwas objectively

 unreasonable and violated Plaintiffs clearly established rights under the Fourth and Fourteenth

 Amendments of the United States Constitution, and 42 U.S.C. 5 1983, to be free from seizure and
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 20 of 25 PageID 37




  arrest in the absence of probable cause; and deprivation of life, liberty or property without due

  process of law.

          121.   Plaintiff is entitled to a reasonable attorney's fee pursuant to 42 U.S.C. $1988.

  As a direct and proximate result of the acts of the described herein, in violation of 42 U.S.C. $ 1983,

 Plaintiff has been brought into public scandal, suffered great humiliation, mental suffering and

  damaged reputation.

          122.   As a further direct and proximate result of the actions and omissions of BAXTER,

 Plaintiff suffered a loss of liberty and freedom, mental anguish, loss of earnings, loss of capacity for

 the enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State

 and Federal levels.

         123.    All of the aforementioned Plaintiffs losses are either continuing of permanent in

 nature, and he will continue to suffer said losses in the hture, all in violation of Plaintiffs rights.

         WHEREFORE, Plaintiff,NICHOLAS WLTKOSON, respectfullyrequests that this Honorable

 Court enter judgment against Defendant, JOSEPHINE BAXTER, for compensatory damages,

 punitive damages, the costs incurred in bringing the instant action, a reasonable attorney's fees, and

 any other relief this Court deems equitable and just.



                                            - COUNT VI -
                         False ArrestIFalse Imprisonment (Child Abuse)
                               vs. STEVEN POWER, individually
                                        (42 U.S.C. $1983)


         Plaintiff, NICHOLAS WUKOSON, hereby sues the Defendant, STEVEN POWER,

 individually, for violation of his Constitutional rights, and, as grounds therefore, states as follows:

         124.    Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 21 of 25 PageID 38




  filly set forth herein.

          125.     The actions of Defendant, POWER, individually, in causing the arrest, restraint and

 confinement of Plaintiff, for Child Abuse, in the absence of probable cause, were taken in the

 absence of lawfil authority, and constitute the false arrest/false imprisonment of Plaintiff.

          126.     The conduct of Defendant, POWER, individually, towards Plaintiff was objectively

  unreasonable and violated Plaintiffs clearly established rights under the Fourth and Fourteenth

 Amendments of the United States Constitution, and 42 U.S.C. $1983, to be free from seizure and

 arrest in the absence of probable cause; and deprivation of life, liberty or property without due

 process of law.

          127.   Plaintiff is entitled to a reasonable attorney's fee pursuant to 42 U.S.C. $1988.

          128.   As a direct and proximate result of the acts of the described herein, in violation of 42

 U.S.C. § 1983, Plaintiff has been brought into public scandal, suffered great humiliation, mental

 suffering and damaged reputation.

         129.    As a further direct and proximate result of the actions and omissions of BAXTER,

 Plaintiff suffered a loss of liberty and freedom, mental anguish, loss of earnings, loss of capacity for

 the enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State

 and Federal levels.

         130.    All of the aforementioned Plaintiffs losses are either continuing of permanent in

 nature, and he will continue to suffer said losses in the future, all in violation of Plaintiffs rights.

         WHEREFORE, Plaintiff, NICHOLAS WUKOSON, respectfillyrequests that this Honorable

 Court enter judgment against Defendant, STEVEN POWER, for compensatory damages, punitive

 damages, the costs incurred in bringing the instant action, a reasonable attorney's fees, and any other

 relief this Court deems equitable and just.
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 22 of 25 PageID 39




                                              - COUNT VII -
                   Malicious Prosecution vs. JOSEPHINE BAXTER, individually
                                         (42 U.S.C. $1983)


           Plaintiff, NICHOLAS WUKOSON, hereby sues the Defendant, JOSEPHINE BAXTER,

 individually, for violation of his Constitutional rights, and, as grounds therefore, states as follows:

           131.   Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if

 hlly set forth herein.

           132.   The actions of Defendant, BAXTER, proximately caused, with malice, a criminal

 proceeding to be initiated or continued against Plaintiff, to wit, the charges of Sexual Battery on a

 Minor Child.

           133.   The subject criminal proceeding was initiated or continued in the absence ofprobable

 cause, as more specifically set forth hereinabove.

           134.   The subject criminal proceeding resulted in a bona fide termination in favor of

Plaintiff in that the Office of the State Attorney filed a Nolle Prosequi as to all charges contained

therein.

           135.   The conduct of Defendant, BAXTER, individually, towards Plaintiffwas objectively

unreasonable and violated Plaintiffs clearly established rights under the Fourth and Fourteenth

Amendments of the United States Constitution, and 42 U.S.C. $1983, to be free from seizure and

arrest in the absence of probable cause; and deprivation of life, liberty or property without due

process of law.

        136.      Plaintiff is entitled to a reasonable attorney's fee pursuant to 42 U.S.C. $1988.

        137.      As a direct and proximate result of the acts of the described herein, in violation of 42
    Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 23 of 25 PageID 40




     U.S.C. $1983, Plaintiff has been brought into public scandal, suffered great humiliation, mental

     suffering and damaged reputation.

              138.   As a further direct and proximate result of the actions and omissions of BAXTER,

     Plaintiff suffered a loss of liberty and freedom, mental anguish, loss of earnings, loss of capacity for

     the enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State

     and Federal levels.

              139.   All of the aforementioned Plaintiffs losses are either continuing of permanent in

     nature, and he will continue to suffer said losses in the future, all in violation of Plaintiffs rights.

             WHEREFORE, Plaintiff, NICHOLAS WUKOSON, respecthlly requests that this Honorable

     Court enterjudgment against JOSEPHINE BAXTER, for compensatory damages, punitive damages,

     the costs incurred in bringing the instant action, areasonable attorney's fees, and any other reliefthis

     Court deems equitable and just.


                                               - COUNT VIII -
                        Malicious Prosecution vs. STEVEN POWER, individually
                                            (42 U.S.C. 91983)


             Plaintiff, NICHOLAS WLTKOSON, hereby sues the Defendant, STEVEN POWER,

     individually, for violation of his Constitutional rights, and, as grounds therefore, states as follows:

             140.    Plaintiff realleges and incorporates paragraphs 1-83, inclusive, hereinabove, as if

     fully set forth herein.

             141.    The actions of Defendant, POWER, proximately caused, with malice, a criminal

.   proceeding to be initiated or continued against Plaintiff, to wit, the charges of Sexual Battery on a

    Minor Child.

             142.    The subject criminal proceedingwas initiated or continued in the absence ofprobable
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 24 of 25 PageID 41




 cause, as more specifically set forth hereinabove.

            143.   The subject criminal proceeding resulted in a bona fide termination in favor of

 Plaintiff in that the Office of the State Attorney filed a Nolle Prosequi as to all charges contained

 therein.

            144.   The conduct of Defendant, POWER, individually, towards Plaintiff was objectively

 unreasonable and violated Plaintiffs clearly established rights under the Fourth and Fourteenth

 Amendments of the United States Constitution, and 42 U.S .C. $ 1983, to be fiee from seizure and

 arrest in the absence of probable cause; and deprivation of life, liberty or property without due

 process of law.

         145.      Plaintiff is entitled to a reasonable attorney's fee pursuant to 42 U.S.C. $1988.

         146.      As a direct and proximate result of the acts of the described herein, in violation of 42

 U.S.C. $1983, Plaintiff has been brought into public scandal, suffered great humiliation, mental

 suffering and damaged reputation.

         147.      As a further direct and proximate result of the actions and omissions of BAXTER,

 Plaintiff suffered a loss of liberty and fieedom, mental anguish, loss of earnings, loss of capacity for

 the enjoyment of life, and diminished opportunity to pursue a career in law enforcement at the State

 and Federal levels.

         148.      All of the aforementioned Plaintiffs losses are either continuing of permanent in

 nature, and he will continue to suffer said losses in the future, all in violation of Plaintiffs rights.

         WHEREFORE, Plaintiff, NICHOLAS WUKOSON, respectfullyrequests that this Honorable

 Court enter judgment against STEVEN POWER, for compensatory damages, punitive damages, the
Case 8:07-cv-01360-SCB-EAJ Document 2 Filed 08/02/07 Page 25 of 25 PageID 42




  costs incurred in bringing the instant action, a reasonable attorney's fees, and any other relief this

  Court deems equitable and just.



 Dated this 27thday of April, 2007.


                                         Respectfully submitted,

                                         T. PATTON YOUNGBLOOD, JR., P.A.
                                         106 S. Tampania Ave., Suite 100
                                         Tampa, Florida 33609
                                         (813) 258-5883; Fax: (8 13) 258-0732


                                        By:
                                              T. PATYON    YOUNGBLOOD, JR., Esquire
                                              Florida Bar No.: 0849243
